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8
                              UNITED STATES DISTRICT COURT
9
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                   SA CR No. 19-061-JVS
12               Plaintiff,                      DEFENDANT’S MOTION TO STRIKE
                                                 THE GOVERNMENT’S UNTIMELY
13                      v.                       OPPOSITION FILED AT DKT. 905
14   MICHAEL JOHN AVENATTI,                      [Proposed Order filed concurrently
                                                 herewith]
15               Defendant.
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18         Defendant MICHAEL JOHN AVENATTI (“Mr. Avenatti”), by and through his
19   advisory counsel of record, H. Dean Steward, hereby files this Motion to Strike The
20   Government’s Untimely Opposition Filed at Dkt. 905.
21
      Dated: January 19, 2022                 Respectfully submitted,
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23
                                             /s/ Michael John Avenatti
24                                            MICHAEL JOHN AVENATTI
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1          Earlier this afternoon, the government filed an untimely opposition (Dkt.
2    905) to defendant’s ex parte application filed last Friday (five days ago) at Dkt.
3    903. The opposition should be stricken in its entirety and not considered by the
4    Court as it is untimely because it was not filed within 24 hours of receipt of the ex
5    parte. Further, the government never moved for an extension of time to file an
6    opposition despite knowing of the ex parte even before it was filed.
7          The government offers no explanation for its failure to follow this Court’s
8    rules nor does it attempt to explain why the opposition should be considered
9    despite its obvious tardiness. This Court has previously made it clear that failure of
10   a party to follow the rules and the submission of late filings will not be tolerated
11   and will result in the filing(s) being disregarded. The government is aware of the
12   rules but disregarded them, evidently with the hope that defendant would not have
13   time to object or the Court would simply condone its conduct by considering the
14   late filing. The opposition should be stricken and the ex parte application granted.
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16   Dated: January 19, 2022                 Respectfully submitted,
17                                             /s/ Michael John Avenatti
                                             MICHAEL JOHN AVENATTI
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2                              CERTIFICATE OF SERVICE
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           I, H. Dean Steward, am a citizen of the United States, and am at least 18 years
4

5    of age. My business address is 17 Corporate Plaza, Suite 254, Newport Beach,

6    California 92660. I am not a party to the above-entitled action. I have caused, on
7
     January 19, 2022, service of the:
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       DEFENDANT’S MOTION TO STRIKE THE GOVERNMENT’S UNTIMELY
9                    OPPOSITION FILED AT DKT. 905
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     on the following party, using the Court’s ECF system:
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12   AUSA RANEE KATZENSTEIN and AUSA BRETT SAGEL

13   I declare under penalty of perjury that the foregoing is true and correct.
14
     Executed on January 19, 2022
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16                                           /s/ H. Dean Steward
17                                           H. Dean Steward
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